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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                               RICHMOND DIVISION


                                                   )
CHMURA ECONOMICS &                                 )
ANALYTICS, LLC,                                    )
                                                   )
                                                   )      Case No.: 3:19-cv-813
                     Plaintiff,                    )      Judge Robert E. Payne
                                                   )
v.                                                 )
                                                   )
RICHARD LOMBARDO,                                  )
                                                   )
                     Defendant.                    )



      DEFENDANT’S ANSWER TO COMPLAINT OF CHMURA ECONOMICS &
                  ANALYTICS, LLC WITH JURY DEMAND

       Pursuant to Fed.R.Civ.P. 12, Defendant Richard A. Lombardo (“Lombardo”) answers the

First Amended Complaint (the “Amended Complaint”) of Chmura Economics & Analytics, LLC

(“Chmura”) as follows:

       1.     Lombardo denies the allegations of ¶1 of the Amended Complaint that he

threatened to intentionally destroy Chmura’s business, that he has unlawfully retained tangible

property or trade secrets, that he threatened to steal Chmura’s customers and take them to a

competitor if Chmura did not offer him compensation commensurate with his perceived self-

worth, refused to return a laptop computer containing confidential and proprietary information

about Chmura’s customers and prospective customers; Lombardo admits the allegations of ¶1 of

the Amended Complaint to the extent that Chmura terminated Lombardo’s employment;




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Lombardo is without information or knowledge sufficient to form a belief as to the truth of the

allegations of ¶1 of the Amended Complaint and, therefore, denies them.

       2.     Lombardo is without information or knowledge sufficient to form a belief as to

the truth of the allegations of ¶2 of the Amended Complaint and, therefore, denies them.

       3.     Lombardo admits the allegations of ¶3 of the Amended Complaint.

       4.     Lombardo denies the allegations of ¶4 of the Amended Complaint.

       5.     The allegations of ¶5 of the Amended Complaint set forth legal conclusions to

which no response is required; to the extent the allegations of ¶5 of the Amended Complaint

were intended to elicit a response, Lombardo denies them.

       6.     The allegations of ¶6 of the Amended Complaint set forth legal conclusions to

which no response is required; to the extent the allegations of ¶6 of the Amended Complaint

were intended to elicit a response, Lombardo denies them.

       7.     The allegations of ¶7 of the Amended Complaint set forth legal conclusions to

which no response is required; to the extent the allegations of ¶7 of the Amended Complaint

were intended to elicit a response, Lombardo denies them.

       8.     The allegations of ¶8 of the Amended Complaint set forth legal conclusions to

which no response is required; to the extent the allegations of ¶8 of the Amended Complaint

were intended to elicit a response, Lombardo denies them.

       9.     Lombardo admits the allegations of ¶9 of the Complaint to the extent that Chmura

software provides demographics and labor data and provides consulting services; Lombardo is

without information or knowledge sufficient to form a belief as to the truth of the remaining

allegations of ¶9 of the Amended Complaint and, therefore, denies them.




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       10.    Lombardo admits the allegations of ¶10 of the Amended Complaint to the extent

that he began his employment with Chmura in 2015; Lombardo is without information or

knowledge sufficient to form a belief as to the truth of the remaining allegations of ¶10 of the

Amended Complaint and, therefore, denies them.

       11.    Lombardo admits the allegations of ¶11 of the Amended Complaint to the extent

that his job was to sell Chmura’s software product to customers located in the Midwest and to

customers located across the nation and that he did sell Chmura’s software products to customers

located in the Midwest and to customers located across the nation; Lombardo denies the

remaining allegations of ¶11 of the Amended Complaint.

       12.    Lombardo admits the allegations of ¶12 of the Amended Complaint solely to the

extent that Lombardo answered questions of his customers as they related to the software he was

selling for Chmura; Lombardo denies the remaining allegations of ¶12 of the Amended

Complaint.

       13.    Lombardo admits the allegations of ¶13 of the Amended Complaint to the extent

that Lombardo had access to and used resources provided by Chmura to sell Chmura’s software

product; Lombardo is without information or knowledge sufficient to form a belief as to the truth

of the remaining allegations of ¶13 of the Amended Complaint and, therefore, denies them.

       14.    Lombardo admits the allegations of ¶14 of the Amended Complaint to the extent

that he used the resources he received from Chmura to develop new client relationships to

benefit Chmura through the sale of Chmura’s software; Lombardo denies the remaining

allegations of ¶14 of the Amended Complaint.

       15.    Lombardo admits the allegations of ¶15 of the Amended Complaint to the extent

that he signed a document titled Confidentiality, Non-Competition, and Non-Solicitation on or


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about February 4, 2015; Lombardo further states that the Agreement attached as Exhibit A to the

Amended Complaint speaks for itself; Lombardo denies the remaining allegations of ¶15 of the

Amended Complaint.

       16.    Lombardo states that the Agreement speaks for itself; Lombardo is without

knowledge sufficient to form a belief as to the truth of the remaining allegations of ¶16 of the

Amended Complaint and, therefore, denies them.

       17.    Lombardo states that the Agreement speaks for itself; Lombardo is without

knowledge sufficient to form a belief as to the truth of the remaining allegations of ¶17 of the

Amended Complaint and, therefore, denies them.

       18.    Lombardo states that the Agreement speaks for itself; Lombardo is without

knowledge sufficient to form a belief as to the truth of the remaining allegations of ¶18 of the

Amended Complaint and, therefore, denies them.

       19.    Lombardo states that the Agreement speaks for itself; Lombardo is without

knowledge sufficient to form a belief as to the truth of the remaining allegations of ¶19 of the

Amended Complaint and, therefore, denies them.

       20.    Lombardo states that the Agreement speaks for itself; Lombardo is without

knowledge sufficient to form a belief as to the truth of the remaining allegations of ¶20 of the

Amended Complaint and, therefore, denies them.

       21.    Lombardo states that the Agreement speaks for itself; Lombardo is without

knowledge sufficient to form a belief as to the truth of the remaining allegations of ¶21 of the

Amended Complaint and, therefore, denies them.




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       22.    Lombardo states that the Agreement speaks for itself; Lombardo is without

knowledge sufficient to form a belief as to the truth of the remaining allegations of ¶22 of the

Amended Complaint and, therefore, denies them.

       23.    Lombardo states that the Agreement speaks for itself; Lombardo is without

knowledge sufficient to form a belief as to the truth of the remaining allegations of ¶23 of the

Amended Complaint and, therefore, denies them.

       24.    Lombardo is without information or knowledge sufficient to form a belief as to

the truth of the allegations of ¶24 of the Amended Complaint and, therefore, denies them.

       25.    Lombardo denies the allegations of ¶25 of the Amended Complaint.

       26.    Lombardo admits the allegations of ¶26 of the Amended Complaint to the extent

that he met with his manager, Eli Auerbach, on or about October 3, 2019; Lombardo denies the

remaining allegations of ¶26 of the Amended Complaint.

       27.    Lombardo admits the allegations of ¶27 of the Amended Complaint to the extent

that he met with Eli Auerbach on or about October 17, 2019; Lombardo denies the remaining

allegations of ¶27 of the Amended Complaint.

       28.    Lombardo denies the allegations of ¶28 of the Amended Complaint.

       29.    Lombardo denies the allegations of ¶29 of the Amended Complaint.

       30.    Lombardo denies the allegations of ¶30 of the Amended Complaint.

       31.    Lombardo denies the allegations of ¶31 of the Amended Complaint.

       32.    Lombardo denies the allegations of ¶32 of the Amended Complaint.

       33.    Lombardo admits the allegations of ¶33 of the Amended Complaint to the extent

that Chmura offered him $10,000; Lombardo denies the allegations of ¶33 to the extent that he

attempted to extort Chmura; Lombardo is without information or knowledge sufficient to form a


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belief as to the truth of the remaining allegations of ¶33 of the Amended Complaint and,

therefore, denies them.

       34.     Lombardo is without information or knowledge sufficient to form a belief as to

the truth of the allegations of ¶34 of the Amended Complaint and, therefore, denies them.

       35.     Lombardo denies the allegations of ¶35 of the Amended Complaint.

       36.     Lombardo admits the allegations of ¶36 of the Amended Complaint to the extent

that his counsel sent a letter on or about October 25, 2019 to counsel for Chmura; that letter

speaks for itself; Lombardo denies the remaining allegations of ¶36 of the Amended Complaint.

       37.     Lombardo denies the allegations of ¶37 of the Amended Complaint.

       38.     Lombardo denies the allegations of ¶38 of the Amended Complaint.

       39.     Lombardo is without information or knowledge sufficient to form a belief as to

the truth of the allegations of ¶39 of the Amended Complaint and, therefore, denies them.

       40.     Lombardo is without information or knowledge sufficient to form a belief as to

the truth of the allegations of ¶40 of the Amended Complaint and, therefore, denies them.

       41.     Lombardo denies the allegations of ¶41 of the Amended Complaint.

       42.     Lombardo denies the allegations of ¶42 of the Amended Complaint.

       43.     Lombardo admits and denies the allegations of ¶43 of the Amended Complaint to

the same extent as it has admitted or denied the incorporated allegations.

       44.     The allegations of ¶44 of the Amended Complaint set forth legal conclusions to

which no response is required; to the extent the allegations of ¶44 of the Amended Complaint

were intended to elicit a response, Lombardo denies them; Lombardo further states that the

Agreement speaks for itself.




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       45.     The allegations of ¶45 of the Amended Complaint set forth legal conclusions to

which no response is required; to the extent the allegations of ¶45 of the Amended Complaint

were intended to elicit a response, Lombardo denies them.

       46.     Lombardo denies the allegations of ¶46 of the Amended Complaint.

       47.     Lombardo denies the allegations of ¶47 of the Amended Complaint.

       48.     Lombardo denies the allegations of ¶48 of the Amended Complaint.

       49.     Lombardo admits and denies the allegations of ¶49 of the Amended Complaint to

the same extent as it has admitted or denied the incorporated allegations.

       50.     The allegations of ¶50 of the Amended Complaint set forth legal conclusions to

which no response is required; to the extent the allegations of ¶50 of the Amended Complaint

were intended to elicit a response, Lombardo denies them; Lombardo further states that the

Agreement speaks for itself.

       51.     The allegations of ¶51 of the Amended Complaint set forth legal conclusions to

which no response is required; to the extent the allegations of ¶51 of the Amended Complaint

were intended to elicit a response, Lombardo denies them; Lombardo further states that the

Agreement speaks for itself.

       52.     Lombardo denies the allegations of ¶52 of the Amended Complaint.

       53.     Lombardo denies the allegations of ¶53 of the Amended Complaint.

       54.     Lombardo denies the allegations of ¶54 of the Amended Complaint.

       55.     The allegations of ¶55 of the Amended Complaint set forth legal conclusions to

which no response is required; to the extent the allegations of ¶55 of the Amended Complaint

were intended to elicit a response, Lombardo denies them.




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       56.     The allegations of ¶56 of the Amended Complaint set forth legal conclusions to

which no response is required; to the extent the allegations of ¶56 of the Amended Complaint

were intended to elicit a response, Lombardo denies them; Lombardo further states that the

Agreement speaks for itself.

       57.     Lombardo admits the allegations of ¶57 of the Amended Complaint to the extent

that he contends that the restrictive covenants in the Agreement are unenforceable.

       58.     The allegations of ¶58 of the Amended Complaint set forth legal conclusions to

which no response is required; to the extent the allegations of ¶58 of the Amended Complaint

were intended to elicit a response, Lombardo denies them.

       59.     The allegations of ¶59 of the Amended Complaint set forth legal conclusions to

which no response is required; to the extent the allegations of ¶59 of the Amended Complaint

were intended to elicit a response, Lombardo denies them; Lombardo further states that the

Agreement speaks for itself.

       60.     Lombardo is without information or knowledge sufficient to form a belief as to

the truth of the allegations of ¶60 of the Amended Complaint and, therefore, denies them.

       61.     The allegations of ¶61 of the Amended Complaint set forth legal conclusions to

which no response is required; to the extent the allegations of ¶61 of the Amended Complaint

were intended to elicit a response, Lombardo denies them; Lombardo further states that the

Agreement speaks for itself.

       62.     Lombardo denies the allegations of ¶62 of the Amended Complaint.

       63.     Lombardo denies the allegations of ¶63 of the Amended Complaint.

       64.     Lombardo denies the allegations of ¶64 of the Amended Complaint.




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       65.     Lombardo admits and denies the allegations of ¶65 of the Amended Complaint to

the same extent as it has admitted or denied the incorporated allegations.

       66.     Lombardo is without information or knowledge sufficient to form a belief as to

the truth of the allegations of ¶66 of the Amended Complaint to the extent that “Chmura

possesses highly unique and valuable information, including without limitation, (i) information

concerning the pricing and other contractual terms offered to current and prospective customers;

(ii) the identities and contact information of the individual authorized users of Chmura’s

software; and (iii) information concerning Chmura’s negotiations of its subscription agreements”

and, therefore, denies them; the remaining allegations of ¶66 of the Amended Complaint set forth

legal conclusions to which no response is required; to the extent the allegations of ¶66 of the

Amended Complaint were intended to elicit a response, Lombardo denies them.

       67.     Lombardo is without information or knowledge sufficient to form a belief as to

the truth of the allegations of ¶67 of the Amended Complaint and, therefore, denies them.

       68.     Lombardo is without information or knowledge sufficient to form a belief as to

the truth of the allegations of ¶68 of the Amended Complaint and, therefore, denies them.

       69.     Lombardo is without information or knowledge sufficient to form a belief as to

the truth of the allegations of ¶69 of the Amended Complaint and, therefore, denies them.

       70.     Lombardo denies the allegations of ¶70 of the Amended Complaint.

       71.     Lombardo denies the allegations of ¶71 of the Amended Complaint.

       72.     Lombardo denies the allegations of ¶72 of the Amended Complaint.

       73.     Lombardo denies the allegations of ¶73 of the Amended Complaint.

       74.     Lombardo denies the allegations of ¶74 of the Amended Complaint.




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        75.    Lombardo admits and denies the allegations of ¶75 of the Amended Complaint to

the same extent as it has admitted or denied the incorporated allegations.

        76.    Lombardo is without information or knowledge sufficient to form a belief as to

the truth of the allegations of ¶76 of the Amended Complaint and, therefore, denies them.

        77.    The allegations of ¶77 of the Amended Complaint set forth legal conclusions to

which no response is required; to the extent the allegations of ¶77 of the Amended Complaint

were intended to elicit a response, Lombardo denies them.

        78.    The allegations of ¶78 of the Amended Complaint set forth legal conclusions to

which no response is required; to the extent the allegations of ¶78 of the Amended Complaint

were intended to elicit a response, Lombardo denies them.

        79.    The allegations of ¶79 of the Amended Complaint set forth legal conclusions to

which no response is required; to the extent the allegations of ¶79 of the Amended Complaint

were intended to elicit a response, Lombardo denies them; Lombardo further states that the

Agreement speaks for itself.

        80.    Lombardo denies the allegations of ¶80 of the Amended Complaint.

        81.    Lombardo denies the allegations of ¶81 of the Amended Complaint.

        82.    Lombardo denies each allegation that he has not expressly admitted to be true.

                                 AFFIRMATIVE DEFENSES

        83.    The Amended Complaint fails to state a claim upon which relief can be granted.

        84.    Chmura’s damages, if any, were caused by its own actions.

        85.    At all times, Lombardo acted in good faith.

        86.    Chmura has suffered no injury or damages cognizable under any state or federal

laws.


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       87.     Chmura’s claims are barred by the doctrine of laches, estoppel and/or waiver.

       88.     Chmura’s claims are barred or limited by the absence of irreparable harm.

       89.     The Complaint is barred by the doctrine of unclean hands.

       90.     Chmura’s claims are not ripe for adjudication.

       91.     Some or all of Chmura’s claims are barred because the contractual provisions at

issue are unenforceable or subject to limitation by the Court. Specifically, the non-competition,

non-solicitation and confidentiality provisions of the Agreement at issue contain vague and

ambiguous terms, are overbroad, and unenforceable. Additionally, the non-competition, non-

solicitation and confidentiality provisions are unreasonable given the undue hardship they

impose on Lombardo in that they improperly restrain Lombardo’s right and ability to work.

       92.     Chmura’s claims fail, in whole or in part, because any information accessed,

viewed, used, or transferred contained no confidential, proprietary, or trade secret information

belonging to Chmura.

       93.     Chmura’s claims fail because Lombardo did not use or receive any trade secrets

or confidential information of Chmura, if any exist.

       94.     Chmura’s claims are barred, in whole or in part, because Chmura’s requested

relief amounts to an improper restraint of trade.

       95.     Chmura’s claims fail, in whole or in part, because Chmura has not exercised

reasonable or sufficient efforts to maintain the secrecy of any information alleged in the

Amended Complaint.

       96.     Chmura’s request for injunctive relief against Lombardo is barred because it has

not demonstrated a need or met the legal criteria for injunctive relief, including a likelihood of




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success on the merits, a risk of irreparable harm, or that the interests of justice or balance of

harms favor injunctive relief.

       97.     Some or all of Chmura’s claims against Lombardo are mooted following the offer

to return to Chmura the laptop issued by Chmura to Lombardo.

       98.     Chmura consented to Lombardo’s possession of the computer and the information

contained thereon.

       99.     Lombardo hereby gives notice that it intends to rely upon such other defenses as

may become available during the discovery proceedings in this case and hereby reserves the right

to amend this Answer to assert any such defenses.

       WHEREFORE, Defendant Richard A. Lombardo demands this Court to:

       1.      Dismiss all claims against him with prejudice;

       2.      Award him his costs and litigation expenses; and

       3.      Grant him all further and other relief to which he may be entitled.

                                        JURY DEMAND

       Richard A. Lombardo demands a trial by jury of all issues so triable pursuant to Rule 38

of the Federal Rules of Civil Procedure.

                                             Respectfully submitted,



                                              /s/ Thomas J. Powell
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                                             Koehler Fitzgerald LLC


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                                  Attorneys for Defendant Richard Lombardo




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                               CERTIFICATE OF SERVICE


       The undersigned certifies that a copy of the foregoing has been served on this 23rd day of

December 2019, via the Court’s CM/ECF filing system, upon the following:

Rodney A. Satterwhite (VSB #32907)
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                                                            /s/ Thomas J. Powell
                                                           Thomas J. Powell




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